IN THE UNITED STATES DISTRICT COURT

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AT ROANOKE, vA
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FEB 23 2013

FOR THE WESTERN DISTRICT OF VIRGINlA JU|_ C, DUDLEY, CLERK
ROANOKE DIVISION QDQCSGW

NORTHWOOD MANAGEMENT GROUP, INC

Plaintiff
v.

CRYSTAL VL RIVERS
CVLR PERFORMANCE HoRSES lNc
Defendants

and

 

CVLR PERFORMANCE HORSES INC
CRYSTAL VL RIVERS

Third Party Plaintiffs
v. '

GARY BoWMAN, Esq.
wILLlAM L. WALLIS, JR.

ROBERT A. NITTI

FABRIKO ACQUISITION CORPORATION (INC)

Third Party Defendants

Case No

NOTICE OF REMOVAL

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BY:
DEPUTY CLERK

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COMES NOW, Defendant, C`rystal VL Rivers, pro se, and hereby gives notice of Removal to this

Court pursuant to 28 U.S.C. 31441,`et seq. of the above-styled action pending in the Circuit Court for

Roanoke City, Virginia, and states the following in support thereof:

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SUBJECT MATTR JURISDICTION

1. This Court has jurisdiction of the subject matter in Rivers complaint alleging facts relating to

Civil Racketeering and Corrupt Organizations Act 18 U.S.C., and predicate acts pursuant to
28 U.S.C.§ l 331 (federal subject matter jurisdiction).

2. This Court has jurisdiction of the subject matter in Counts Two, Three, Four and Five

pursuant to its federal question jurisdiction

` 3. This Court has jurisdiction of the subject matter in Count One because the federal court has
jurisdiction over pendent state claims when the state claims share a “comrnon nucleus of

operative facts” with the federal claims. They'are all essential to complete the RICO scheme
PARTIES

4. Crystal VL Rivers is a resident of Bedford County Virginia. During the times relevant to
this lawsuit, Rivers was a contracted party with Bowman, as her counsel, Wallis and NMG

collectively and individually as third party payees of her lawsuits.

5. CVLR Performance Horses Inc (“CVLR”) was a registered corporation with the State of
Virginia and has since been dissolved. During times relevant to this lawsuit CVLR was a party
contracted with Bowman, as their counsel, Wallis, and NMG, collectively and individually as

third party payees of their lawsuits.

6. Northwood Management Group (Inc), aka the Northwood Group (“NMG”) is a Virginia'

corporation with its place of business in Appomattox Virginia owned entirely by Wallis

7. Robert A. Nitti (“Nitti”) is aresident of the State of Virginia. Nitti is a partner of Wallis’s.

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8.' William L. Wallis, Jr. (“Wallis”) is a resident of the State of Virginia. During the times
relevant to this lawsuit, he was an owner of Fabriko Acquisition Corporation (Inc) and Bowman

was his counsel,

9. Fabriko Acquisition Corporation (lnc) (“Fabriko”) is a company that operated and

advertising as a corporation in the State of Virginia.
SUMMARY STATEMENT OF FACTS \

v 10. This action was commenced by-a Complaint which-was filed by NMG on August 4, 2014 asking
for $34,000.00 relief against the Defendants, Rivers and CVLR and imposing a constructive trust on any

settlement proceeds received by them and asking to allow NMG to proceed in the matters EXlBIT_l_

11. Rivers and CVLR, represented at the time'by J ames Gilbert, filed their answer and counter claim

against NMG for breach of contract and fraud on August 29, 2014 EXH]BIT_Z_

12. On July 27, 2015 Rivers and CVLR filed Motion to add Bowman as Third Party Defendant for

breach of contract and fraud

13. On August 28, 2015 the parties were heard_and Rivers and CVLR’s motion to add Bowman as

Third Party Defendant was GRANTED. Amended Third Party Complaint EXH[BlT'_ZA__

14. Rivers, due to counsel withdrawing from the case, filed, pro se, her motion to amend Third Party
complaint against Bowman on April 17, 2017 adding counts of fraud and conspiracy, legal malpractice,

wire fraud and obtaining money under false pretenses.

15. On October 31, 2017: l"l`he parties came to be heard on Rivers motion for leave .to file a second
amended complaint against Bowman. The motion was DENIED. Rivers filed her motion to reconsider

and review which was DENIED on December 15, 2017k EXHIBIT_S_

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16. The parties came to be heard again on November 29, 2017 on Bowman’s Pleas in Bar and
Demurrer and Rivers motion to add Third Party Defendants, Wallis, Nitti and Fabriko. Bowman’s Plea in

Bar and Demurrer were SUSTAINED and he was dismissed as a party from this case. EXHIBIT_4_

17. lt was further Ordered, on that same day, that Rivers motion to add_ Wallis, Nitti, and Fabriko as
Third Party Defendants was GRANTED. Rivers properly joined the additional Third Party Defendants to
this case within 21 days after the endorsement of the January 3, 2018 endorsed Order as per the Order of

the Court asking for approximately $100,000.00 EXHIBIT_4'A_‘

18. On January 9, 2018: Rivers Noticed the Appeal on ONLY the matters relating to Bowman in The
December 15, 2017 Order Denying Rivers motion to reconsider and reverse the November 29, 2017

order , , l EXHlBiT_s & sA__

19. On February2, 2018: Rivers Noticed the Appeal on ONLY the matters relating to Bowman in the

January 3, 2018 Order removing Bowman as a 'l`hird Party to this case EXHIBIT_6_

20. All parties have been served with copies of the Notice of Appeal and the transcript has been “

ordered for filing timely, 90 days from January 3, 2018
21. Wallis and Fabriko were served their copy of the complaint against them on January 29, 2018

22. Service by the Appomattox County sheriff was attempted at the address Nitti uses in Federal and

State court filings but the address was no good and does not exist

23. On February 13, 2018; Rivers prepared and filed a second request and attempt for the Clerk of the
Court of Roanoke City Circuit Court to issue to the sheriff of Appomattox County for service `upon Nitti

at his newly discovered address.

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24. The above-styled action is a civil action over which this Court has jurisdiction pursuant to 28
U.S.C.% 13329(a) based on the fact that the award amount in controversy and being prayed for by NMG

and Rivers, exceeds Seventy Five Thousand Dollars. ($75,000.00). '

25. Defendant reserves the right to amend the complaint and ad damnum to $30,000,000.00
($9,530,000 trebled plus legal fees, cost and expenses) against the Third Party Defendants to better
present the ongoing RICO Racketeering claims against them and to include newly discovered subject

matters.

26. This Notice of Removal is being timely filed in that it is being filed within thirty (30) days after

the Defendant, Rivers filed the complaint against Third Party Defendants, Wallis, Nitti and Fabriko

27. Venue lies properly in this Court as it is in the district and division thereof in which the State court
action was pending prior to removal. v
28. Defendant is giving notice of the removal to all parties Plaintiff and Defendant and will file a copy
of this notice, with the Clerk of the Circuit Court of Roanoke City, Virginia.

29. Removing this case to this Court will not prejudice or negatively affect the parties in this matter.

WHEREFORE, for the foregoing reasons, Defendant requests that the aforesaid action pending in the

Circuit Court for Roanoke City, Virginia be removed to this Court, and for such additional relief as the
Court may deem appropriate

A JURY TRIAL IS REQUESTED

 

Crystal VL Rivers

3831 Old Forest Rd, Suite 6

Lynchburg VA 245 01 . l
434-818-2921
rivespara|egalservices@gmail.com '

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CERT|F|CATE

I hereby certify that I filed the foregoing Notice of Removal with
the Clerk of the Court, and Served all parti: of interest named below
in the action, by U.S.
February, 2018.

   

 

Northwood Manage`ment Group, (Inc) 3831 Old Forest Rd, Ste 6
Matthew Huebschman', counsel for NMG ' Lynchburg, VA 24501

3807 Brandon Ave, Ste 2425 i'iversparalegalservices@gmail.com
Roanoke,l VA 24018 1 434-818-2921

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Robert A. Nirti, Pro se _ UBJECT/d/U§ .` 33 g 466 5/44/
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8037 Red House Rd ' "

   

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Appomattox, VA 24522
804-385-9410

 

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